               Case 2:17-cv-04911-KDE-JCW Document 21 Filed 09/25/17 Page 1 of 1
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                                                  September 25, 2017



      The Honorable U.S. District Judge Kurt D. Engelhardt
      United States District Court
      Eastern District of Louisiana
      500 Poydras Street, Room C367
      New Orleans, LA 70130
      VIA ECF

                                      Re:   Autin v. Jackson et al
                                            Case No.: 2:17-cv-04911-KDE-JCW

      To the Honorable U.S. District Judge Kurt D. Engelhardt,

                 The undersigned represents the Plaintiff in the above referenced matter.

              Please be advised that this matter has been settled as all claims against the Defendants. It
      is therefore respectfully requested that the matter be stayed for 120 days, to allow the parties to
      finalize settlement details and submit a Stipulation of Discontinuance. The parties request 120
      days, as the Settlement involves a four-month payment plan, and wish this Court to retain
      jurisdiction over this matter until all payments due under the Settlement are received.

             Defendants’ counsel is copied on this communication and has consented to the within
      request. Kindly contact the undersigned with any questions or concerns regarding the foregoing.


                                                        Respectfully Submitted,


                                                        s/ Yitzchak Zelman
                                                        Yitzchak Zelman, Esq.
      YZ/llh
